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                                               M IN UTE O RDER                                              Page1
                                   M agistrate Judge Lauren F.Louis
                   AtkinsBuildingCourthouse-11th Floor                           Date:8/5/22          Time:10:00a.m.
Defendant: NiniJohana Usuga-David               J#: 09070-510      Case #: 18-20948-CR-GAYLES
AUSA: Andrea Goldbarg                                 Attorney: David A.Nunez,Perm anent
Violation: ConspiracytoDistributecocaineKnowingthati
                                                   twould
           be lm ported intothe UnitedStates
Proceeding'
          . Arraignm ent                                            CJA Appt:
Bond/PTD Held:C Yes C No                   Recom mended Bond:
Bond setat:PretrialDetention -STIP                                      Co-signed by:
 I-
  L-Isurrenderand/ordonotobtainpassports/traveldocs                          Language'
                                                                                     .Spanish
 nj- ReporttoPTSasdirected/or                        x'saweek/monthby Disposition:
       phone:          x'saweek/monthinperson                                  vBrad orderNOT Given*
       Random urine testing by pretrial
 n' services
       Treatmentasdeemednecessary                                             DelendantArraigned:
 Rr    Refrainfrom excessiveuseofalcohol                                      ReadingoflndictmentWaived
 Nr    participateinmentalhealthassessment&treatment                          NotGuiltypleuentered
 N'    Maintainorseekfull-timeemployment/education                            Jurytrialdemanded
 Nr    Nocontactwithvictims/witnesses,exceptthroughcounsel                    StandingDfsoyel-/Orderrequested
 Nr    Nofirearms
 Nr    Nottoencumberproperty                                                  CounsellilespermanentJppelrlnce
 Nr    Maynotvisi  ttransportationestablishments                              IorTrial/Appeal
 Nr    Homeconfinement/
       curfew
                           ElectronicMonit
                          pm to
                                           oringand/or
                                          am                                  .sra
                                                                                 .dy warning gyven.
                                                 ,   paid by
       Allow ances:M edicalneeds,courtappearances,attorney visits,
       religious,em ploym ent
 Nr Travelextendedto:                                                          zjmefromtodayto          excluded
 NZ Other:                                                                     fromSpeedyTrialClock
NEXT CO URT APPEARANCE     Date:               Tim e;          Judge;                        Place:
Report RE Counsel:
p'
 rD/BondHearing:
Prelim/ArraignorRemoval:
Status Conference RE:
D.A.R. 10:03:51                                                     Tim e in Court:     3 m ins
                                     s/LaurenF.Louis                                       MagistrateJudge
